           Case 1:21-cv-01134-KES-SAB Document 115 Filed 12/09/24 Page 1 of 3


 1

 2

 3

 4

 5

 6

 7

 8
                          UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   DORIS ANDERSON, et al.,                             Case No. 1:21-cv-01134-KES-SAB

12                   Plaintiffs,                         ORDER RE JOINT STATUS REPORT;
                                                         STAYING DISCOVERY; SETTING
13           v.                                          SCHEDULING CONFERENCE FOR
                                                         JANUARY 9, 2025
14   COUNTY OF FRESNO, et al.,
                                                         (ECF No. 114)
15                   Defendants.

16

17          Plaintiffs filed this action on July 23, 2021. (ECF No. 1) The operative third amended

18 complaint asserts claims against Defendants: (1) County of Fresno; (2) Margaret Mims; (3)

19 California Forensic Medical Group, also known as Wellpath, LLC (“Wellpath”); (4) Jami Carter;
20 (5) Chris Garcia; (6) Frank Ponce; (7) Moises Franco; (8) Meng Cha; (9) Linda Thao; (10) Ka

21 Her; (11) Jose Alanis; (12) Anthony Sanchez; (13) Rachel LeBoeuf; (14) David Ventura; (15)

22 Dillon Owens; (16) Jonathan Sanchez; (17) Genevieve Garcia; and (18) Maria Guerrero. (ECF

23 No. 97.) A scheduling conference was held on December 11, 2023. (ECF No. 104.) Neither the

24 pretrial conference nor trial have been set in this matter.

25          On November 15, 2024, Defendant Wellpath filed a suggestion of bankruptcy and notice

26 of stay indicating that on November 11, 2024, Wellpath filed for bankruptcy in the United States
27 Bankruptcy Court for the Southern District of Texas (Houston Division) for relief under chapter

28 11 of the United States Bankruptcy Code (the “Bankruptcy Code”).           (ECF No. 46.) The


                                                     1
          Case 1:21-cv-01134-KES-SAB Document 115 Filed 12/09/24 Page 2 of 3


 1 bankruptcy case is pending under case number 24-90563-(ARP).

 2          On November 19, 2024, the Court tentatively ordered a stay of this action against

 3 Wellpath only, pursuant to 11 U.S.C. § 362(a), and that the action proceed against the other

 4 seventeen defendants. (ECF No. 112.) The Court ordered that the parties not subject to the

 5 automatic stay either request a status conference or file a status report indicating whether this

 6 action should proceed in some manner against any of the named Defendants, if this matter should

 7 be stayed in its entirety, or whether a settlement conference should be set.

 8          On November 26, 2024, Defendants Wellpath, Genevieve Garcia, and Maria Guerrero

 9 filed an amended notice of stay and provided an Amended Interim Order Enforcing the

10 Automatic Stay ordered by the Bankruptcy Judge presiding over the Bankruptcy proceeding in

11 United States Bankruptcy Court for the Southern District of Texas. (ECF No. 113.) Therein, the

12 Bankruptcy Judge ordered that Wellpath and “non-debtor” Wellpath defendants such as

13 Genevieve Garcia and Maria Guerrero are also subject to an interim stay. (ECF No. 113-2.)

14          On December 4, 2024, Plaintiffs Doris Anderson and James Jenkins (“Plaintiffs”); and

15 defendants County of Fresno, Sheriff-Coroner Margaret Mims, Correctional Lieutenant Jami

16 Carter, Correctional Sergeant Chris Garcia, Correctional Officers Frank Ponce, Moises Franco,

17 Meng Cha, Linda Thao, Ka Her, Anthony Sanchez, Rachel LeBoeuf, David Ventura, Dillon

18 Owens, Jose Alanis, and Jonathan Sanchez (“County Defendants”) (collectively “the Non-

19 Bankruptcy Parties”) filed a joint status report. (ECF No. 114.) The Non-Bankruptcy Parties
20 request that the Court set a status conference within 45 days to discuss the Non-Bankruptcy

21 Parties’ respective positions regarding whether a settlement conference would be productive and,

22 if not, whether the case can proceed against only the County Defendants. The Non-Bankruptcy

23 Parties request that all deadlines, including the December 20, 2024, expert disclosure deadline be

24 stayed through the status conference, at which time new case management deadlines will be set,

25 if needed.

26          The parties’ joint report does not address whether they will or already have contested the

27 application of the automatic stay to non-debtor defendants, Genevieve Garcia and Maria

28 Guerrero. Rather, the Non-Bankruptcy Parties request a stay of the entire action until they can


                                                     2
          Case 1:21-cv-01134-KES-SAB Document 115 Filed 12/09/24 Page 3 of 3


 1 confer to engage in a productive status conference. The Court finds good cause to stay this

 2 action until a January 9, 2025 status conference. The Court shall order that the Non-Bankruptcy

 3 Parties file a joint status report one week prior to the status conference summarizing the parties’

 4 respective positions whether a settlement conference would be productive, whether the case can

 5 proceed against only the County Defendants, and shall inform the Court as to any the status of

 6 the Final Order to enforce the automatic stay to non-debtor Defendants Genevieve Garcia and

 7 Maria Guerrero.

 8          Accordingly, IT IS HEREBY ORDERED that:

 9          1.      A status conference is set for January 9, 2025 at 9:30 a.m. in Courtroom 9;

10          2.      The Non-Bankruptcy Parties shall file a joint status report one week before the

11                  status conference; and

12          3.      All remaining deadlines contained within the December 11, 2023 scheduling

13                  order (ECF No. 105), including the December 20, 2024, expert disclosure

14                  deadline, are STAYED through the status conference.

15
     IT IS SO ORDERED.
16

17 Dated:        December 9, 2024
                                                        STANLEY A. BOONE
18                                                      United States Magistrate Judge
19
20

21

22

23

24

25

26
27

28


                                                    3
